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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA

  PRESS ROBINSON, EDGAR CAGE,
  DOROTHY NAIRNE, EDWIN RENE SOULE,
  ALICE WASHINGTON, CLEE EARNEST
  LOWE, DAVANTE LEWIS, MARTHA
  DAVIS, AMBROSE SIMS, NATIONAL
  ASSOCIATION FOR THE ADVANCEMENT Civil Action No. 3:22-cv-00211-SDD-RLB
  OF COLORED PEOPLE (“NAACP”)
  LOUISIANA STATE CONFERENCE, and
  POWER COALITION FOR EQUITY AND
  JUSTICE,

                    Plaintiffs,

                        v.

  NANCY LANDRY, in her official capacity as
  Secretary of State for Louisiana,

                    Defendant.

  EDWARD GALMON, SR., CIARA HART,
  NORRIS HENDERSON, and TRAMELLE
  HOWARD,
               Plaintiffs,                        Civil Action No. 3:22-cv-00214-SDD-RLB

                        v.

  NANCY LANDRY, in her official capacity as
  Secretary of State for Louisiana,

                    Defendant.



        GALMON PLAINTIFFS’ NOTICE REGARDING THE NEW ENACTED
                        CONGRESSIONAL MAP


       Pursuant to this Court’s scheduling order, ECF No. 330, Galmon Plaintiffs hereby give

notice that they do not oppose Senate Bill 8 (“S.B. 8”), the new enacted congressional map that

was passed by the legislature in the 2024 First Extraordinary Session and was signed by the



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Governor and became effective on January 22, 2024. Galmon Plaintiffs respectfully request that

the Court retain jurisdiction of this action to adjudicate challenges to S.B. 8 and any related

litigation regarding Louisiana’s congressional map. See Mot. to Apply First-Filed Rule, ECF No.

345.



Date: February 6, 2024                            Respectfully submitted,

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                                                  Counsel for Galmon Plaintiffs




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